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       Attorneys for Plaintiffs,
18     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
19                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
20                              SOUTHERN DIVISION
21      MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and            )
22      CERCACOR LABORATORIES, INC.,           )
        a Delaware corporation                 ) PLAINTIFFS’ RULE 52 MOTION
23                                             ) FOR JUDGMENT REGARDING
                    Plaintiffs,                ) APPLE’S DEFENSES
24                                             )
              v.                               ) Date: July 24, 2023
25                                             ) Time: 1:30 p.m.
        APPLE INC., a California corporation   ) Courtroom 10C
26                                             )
                    Defendant.                 ) Hon. James V. Selna
27                                             )
                                               )
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 1                PLEASE TAKE NOTICE that on July 24, 2023 or as soon thereafter as counsel
 2     may be heard, in the Courtroom of the Honorable James V. Selna, Courtroom 10C of
 3     the United States District Court for the Central District of California, located at 411 West
 4     Fourth Street, Santa Ana, CA 92701, Plaintiffs Masimo Corporation and Cercacor
 5     Laboratories, Inc. (collectively, “Plaintiffs”) will present their Rule 52 Motion for
 6     Judgment Regarding Apple’s Defenses.
 7                This motion is made under Rule 52 of the Federal Rules of Civil Procedure on the
 8 grounds that Masimo is entitled to judgment regarding Apple’s defenses.
 9                This motion is based upon this Notice of Motion and the Memorandum of Points
10 and Authorities filed concurrently herewith, and any subsequently filed briefs,
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   declarations and other pleadings and papers filed in this action, and any other arguments,
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   evidence, and matters submitted to the Court, at the hearing or otherwise.
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                                                    Respectfully submitted,
15
                                                    KNOBBE, MARTENS, OLSON & BEAR, LLP
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17
       Dated: May 30, 2023                          By: /s/ Benjamin A. Katzenellenbogen
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26                                                         CERCACOR LABORATORIES, INC.
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